          Case 2:11-cr-00427-TLN-CKD Document 197 Filed 01/15/15 Page 1 of 3


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4
     Attorney for Defendant
5    ANGELA SHAVLOVSKY

6

7                            IN THE UNITED STATES DISTRICT COURT

8                           FOR THE EASTERN DISTRICT OF CALIFORNIA

9

10   UNITED STATES OF AMERICA,               )   2:11-CR-00427 TLN
                                             )
11                              Plaintiff,   )   STIPULATION AND ORDER
                                             )   TO CONTINUE STATUS CONFERENCE
12   v.                                      )
                                             )
13                                           )
     ANGELA SHAVLOVSKY,                      )
14                                           )
                             Defendant.      )
15   __________________________________      )

16
                                         STIPULATION
17
           Plaintiff, United States of America, by and through its counsel,
18
     Assistant United States Attorney Jill Thomas, and defendant, Angela
19
     Shavlovsky, by and through her counsel, Erin J. Radekin, agree and stipulate
20
     to vacate the date set for status conference, January 22, 2015 at 9:30 a.m.,
21
     in the above-captioned matter, and to continue the status conference to March
22
     12, 2015 at 9:30 a.m. in the courtroom of the Honorable Troy L. Nunley.
23
           The reason for this request is that additional time is needed by Ms.
24
     Radekin to complete review of discovery, for investigation, and for other
25
     defense preparation.    Ms. Radekin is still engaged in review of the
26
     voluminous discovery in this case, which currently ends at page 68740.      In
27
     addition, on January 6, 2015, Ms. Radekin received 608 pages of trial
28



                                     Stipulation and Order - 1
          Case 2:11-cr-00427-TLN-CKD Document 197 Filed 01/15/15 Page 2 of 3


1    transcripts from a related case that she also must review as part of her

2    preparation of Ms. Shavlovsky’s defense.     Finally, there is investigation and

3    other defense preparation that Ms. Radekin must complete.    The Court is

4    advised that Ms. Thomas concurs with this request and has authorized Ms.

5    Radekin to sign this stipulation on her behalf.

6          The parties further agree and stipulate that the time period from the

7    filing of this stipulation until March 12, 2015 should be excluded in

8    computing time for commencement of trial under the Speedy Trial Act, based

9    upon the interest of justice under 18 U.S.C. § 3161(h)(7)(B)(iv), and Local

10   Code T4, to allow reasonable time necessary for effective defense

11   preparation.   It is further agreed and stipulated that the ends of justice

12   served in granting the request outweigh the best interests of the public and

13   the defendant in a speedy trial.

14         Accordingly, the parties respectfully request the Court adopt this

15   proposed stipulation.

16   IT IS SO STIPULATED

17   Dated: January 15, 2015                      BENJAMIN WAGNER
                                                  United States Attorney
18
                                          By:      /s/ Jill Thomas
19                                                JILL THOMAS
                                                  Assistant United States Attorney
20

21   Dated: January 15, 2015                       /s/ Erin J. Radekin
                                                  ERIN J. RADEKIN
22                                                Attorney for Defendant
                                                  ANGELA SHAVLOVKSY
23

24
                                          ORDER
25
           For the reasons set forth in the accompanying stipulation and
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     declaration of counsel, the status conference date of January 22, 2015 at
27
     9:30 a.m. is VACATED and the above-captioned matter is set for status
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                                   Stipulation and Order - 2
          Case 2:11-cr-00427-TLN-CKD Document 197 Filed 01/15/15 Page 3 of 3


1    conference on March 12, 2015 at 9:30 a.m.    The Court finds excludable time in

2    this matter through March 12, 2015 under 18 U.S.C. § 3161(h)(7)(B)(iv) and

3    Local Code T4, to allow reasonable time necessary for effective defense

4    preparation.   For the reasons stipulated by the parties, the Court finds that

5    the interest of justice served by granting the request outweigh the best

6    interests of the public and the defendant in a speedy trial. 18 U.S.C. §§

7    3161(h)(7)(A), (h)(7)(B)(iv).

8    IT IS SO ORDERED.

9    Dated: January 15, 2015

10                                               Troy L. Nunley
                                                 United States District Judge
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                                     Stipulation and Order - 3
